Case 2:18-cr-00882-DLR. Document 2 Filed 06/06/18 Page 1 of 9

 

 

UNITED STATES DISTRICT COURT

 

 

DISTRICT OF ARIZONA
UNITED STATES OF AMERICA
¥S :
rv, Avs V. CRIMINAL COMPLAINT
\9 (REDACTED)
Yo COREY WEBSTER NEWKIRK (001) CASE NUMBER: Loar v
‘GABRIEL MARIO MORALES (002) or

JESUS HUMBERTO BARRERA ESTRADA (003)

I, the undersigned complainant, being duly sworn, state the following is true and
correct to the best of my knowledge and belief: .

COUNT 1
On or between June 4, 2018, and June 5, 2018, in the District of Arizona and
elsewhere, Defendants COREY WEBSTER NEWKIRK, GABRIEL MARIO MORALES,
and JESUS HUMBERTO BARRERA ESTRADA did intentionally and unlawfully seize,
confine, kidnap, abduct and carry away and hold for ransom or otherwise and thereafter
willfully transport K.C.S. in interstate and foreign commerce.
In violation of Title 18, United States Code, Sections 1201(a)(2) and 2.

COUNT 2
On or between June 4, 2018, and June 5, 2018, Defendants COREY WEBSTER
NEWKIRK, GABRIEL MARIO MORALES, and JESUS HUMBERTO BARRERA
ESTRADA knowingly used a firearm during and in relation to a crime of violence, and
knowingly possessed a firearm in furtherance of a crime of violence, that is Kidnapping, a
felony crime prosecutable in a Court of the United States, as alleged in Count 1 of this
Complaint, in violation of Title 18, United States Code, Sections 924(c)(1)(A) and 2.

I further state that I am a Special Agent with the Federal Bureau of Investigation, and
that this Complaint is based on the following facts; SEE ATTACHED AFFIDAVIT
INCORPORATED HEREIN.

Continued on the attached sheet and made a part hereof: Yes [] _ No

REVIEWED BY: AUSA Christina Covault & |
Pursuant to 28 U.S.C. §1746(2), I declare that the foregoing it true and correct.

 

 

 

~
Kemper Mills, Special Agent, FBI - AZZ
Complainant’s Name and Title lainant’s Signature
Ten, & BA? een y, We
Date/Time City and Statex, 4 ~

 
 

Hon. David K. Duncan, U.S. Magistrate Judge oe
Name & Title of Judicial Officer Signature of Judicial Officer

 
Case 2:18-cr-00882-DLR Document 2 Filed 06/06/18 Page 2 of 9

UNITED STATES DISTRICT COURT
DISTRICT OF ARIZONA

REDACTED AFFIDAVIT

I, FBI Special Agent Kemper V. Mills, being duly sworn, depose and state as

follows:

1. lama Special Agent (SA) with the Federal Bureau of Investigation (FBI) and
have been so employed since 2012. I have more than 12 years of experience as a
sworn federal law enforcement officer. JI am currently assigned to the Lake Havasu
City Resident Agency, Phoenix Division, Arizona. In the course of my official =
duties, I am charged with the investigation of federal crimes occurring in Mohave
and La Paz Counties within the District of Arizona.

2. The information contained in this affidavit is based upon my personal
knowledge, training, experience, and the investigation of other law enforcement
officers including the Quarztsite, Arizona, Police Department and the Los Angeles
County Sheriff’s Department. I have not included each and every fact known to me
concerning this investigation. I have set forth only the facts necessary to establish
probable cause to support issuance of the requested arrest warrant.

3. This case involves (among other crimes) a conspiracy and kidnapping that
occurred in Arizona and California. The victim in this case is K.C.S., a 23-year-old

female. The suspects are K.C.S.’s boyfriend, Corey Webster Newkirk (“Newkirk’’)
1
Case 2:18-cr-00882-DLR Document 2 Filed 06/06/18 Page 3 of 9

and his two friends, Gabriel Mario Morales (“Morales”) and J esus Humberto Barrera
Estrada (“Barrera Estrada”).

4. The criminal violations as set forth in this affidavit are Kidnapping, in
violation of Title 18, United States Code (U.S.C.), Section 1201(a)(2), Aid and Abet,
Title 18 U.S.C., Section 2; and Use of a Firearm in a Crime of Violence, Title 18

US.C., 924(c), Aid and Abet, Title 18 U.S.C., Section 2.

Initial Investigation

5. On or about Sunday, May 26, 2018, K.C.S. and Newkirk were involved in a
domestic dispute in Tempe, Arizona. Arizona State University Police transported
K.C.S. to a domestic violence shelter. K.C.S. left her vehicle behind with Newkirk.
Thereafter, K.C.S. traveled Bes to Palmdale, California, to be with family.

6. On the same date, Newkirk, Morales, and Estrada (collectively referred to as
“the three men”) recovered a stolen pistol in Scottsdale, Arizona, and drove to
Palmdale to kidnap K.C.S. They drove to California in K.C.S.’s vehicle, which she
had left with Newkirk,

7. From May 27, 2018, to June 4, 2018, the three men conducted extensive
surveillance of K.C.S. in California. For example, they purchased a magnetic
electronic transmitting tracker, which they affixed to the vehicle of T.P.S., K.C.S.’s

mother. The three men also stole or purchased mace/pepper-spray, respirators,

2
Case 2:18-cr-00882-DLR Document 2 Filed 06/06/18 Page 4 of 9

binoculars, and a knife to facilitate the kidnapping of K.C.S. The three men
established surveillance positions near the residence of T.P.S. in Palmdale,
California and monitored the family’s activities over an eight-day period. During
that time, the men slept in K.C.S.’s vehicle and used it to facilitate their surveillance —
activities.

8. On the evening of June 4, 2018, the three men followed K.C.S. to an
Applebee’s restaurant where K.C.S. and her twin sister J.S. were celebrating their
birthday with T.P.S., K.F., and their two foster-brothers who are minors. When the
family left the restaurant, the three men sprayed K.C.S., T.P.S., J.S., and K.F. with
mace/pepper-spray, forced K.C.S. into the backseat of her vehicle, and fled
California for Arizona.

9. During the early morning hours of June 5, 2018, the three men and K.C.S.
entered the District of Arizona on Interstate 10 and were temporarily detained during
an unrelated traffic stop conducted by the Quartzsite Police Department (“QPD”).
During the traffic stop, K.C.S. stuck her hands in the air and screamed, “I am
kidnapped! I am kidnapped!” Newkirk sped away from the traffic stop with
K.C.S. and Barrera Estrada in the back seat. Morales fled on foot. Newkirk drove
the vehicle at a high rate of speed, exited the highway, drove into the desert,
damaging the vehicle, stopped the vehicle, and fled into the desert on foot. Barrera

Estrada was detained by QPD. A fugitive location operation, including the
3
Case 2:18-cr-00882-DLR Document 2 Filed 06/06/18 Page 5 of 9

deployment of a law enforcement helicopter, commenced to detain Newkirk and
Morales. Newkirk and Morales were detained hours later.
Subsequent Investigation and Interviews

10. On June 5, 2018, at approximately 4:14 a.m., I was contacted by QPD and
advised of the basic overview of the situation: Morales and Barrera Estrada had been
detained, Newkirk had not yet been detained, and K.CS. was Safe at QPD. I drove
from Lake Havasu City, Arizona, to Quartzsite Arizona to assess the situation and
_ begin an investigation.

11. Upon my arrival at QPD at 6:30 a.m., QPD advised me that during a search
incident to arrest, a stolen pistol was recovered from the vehicle. | 1 and members of
the QPD immediately began conducting interviews of the victim and the three men.

12. In my intetview with K.C.S., she advised that she had left Arizona to get
away from Newkirk.- She and Newkirk had been in a romantic relationship for five
years and had two children together, both of whom they placed for adoption.
During the course of their relationship, Newkirk physically and emotionally abused
her. On May 26, 2018, she had taken a bus from Phoenix to Los Angeles where she
was met by her mother and driven to her mother’s residence in Palmdale, California.
She contacted Newkirk, told him their relationship was over, and requested he leave

her vehicle at any police department.
Case 2:18-cr-00882-DLR Document 2 Filed 06/06/18 Page 6 of 9

13. On her birthday, June 4, K.C.S. went to Applebee’s to celebrate with her
twin sister and other family members. When her family exited the restaurant,
Barrera Estrada suddenly sprayed her with pepper-spray, shoved her in the backseat
of her car, and jumped on top of her. Newkirk drove the vehicle away from the
scene, and Morales sat in the front passenger seat. While in the car, Newkirk and
Morales bragged about spraying other members of K.C.S.’s family with pepper
spray, and Morales discussed having a pistol in the car. The child-lock on her car
door had been activated so K.C.S. could not open the door from inside the car.

14. Newkirk drove the group to a gas station near the Arizona/California border.
Barrera Estrada contacted his sister and asked for money so the group could purchase
gas. His sister transferred money to his Bank of America card, and the group was
able to obtain gas. K.C.S. asked if she could go use the bathroom; and Newkirk
refused. K.C.S. offered Newkirk the money she had if he would let her go, he
refused. In the past, Newkirk had threatened to kill K.C.S. ifshe left him. He also
threatened to break her legs. He told her he wanted to spend one more night with
her. K.C.S. felt that Newkirk might injure or kill her if she stayed with him. She
felt as though he may also be suicidal.

15. Newkirk then drove the group to Quartzsite, Arizona where they were pulled
over by QPD. During the traffic stop, K.C.S. screamed that she had been

kidnapped, and Newkirk speed away in her car. He eventually stopped the car in
5 .
Case 2:18-cr-00882-DLR Document 2 Filed 06/06/18 Page 7 of 9

the desert. After Barrera Estrada was detained and a search operation began to
locate Newkirk and Morales in the desert, QPD rescued K.C.S. and took her to the
police station.

16. After I spoke with K.C.S., I interviewed Barrera Estrada, Morales, and
Newkirk, in immediate succession, and in that order. They all made the following .
admissions. They each admitted that they drove to California on or about May, 27,
2018, in K.C.S.’s car after K.C.S. left Arizona following a dispute with Newkirk.
They all knew Morales had a s¢##*a pistol in the car. For several days, the three
men conducted surveillance of K.C.S. and her family at her mother T.P.S.’s home
in Palmdale, California. The men purchased an electronic tracker, and Morales
placed it on the Chevy Camaro, which belonged to T.P.S. The group shoplifted
mace/pepper-spray and respirators and purchased binoculars to facilitate their
operation.

17. Barrera Estrada stated that at some point after they began surveilling the
residence in California, they saw an unknown vehicle (later determined to belong to
K.F.) and used a public record search tool to determine who it belonged to. Barrera
Estrada and Morales both stated that Newkirk was jealous about K.F.

18. On June 4, 2018, while parked at Applebee’s in Palmdale, the three men
exited K.C.S.’s vehicle after she and her family came out of the restaurant. The

three men sprayed K.C.S. and her family members with mace/pepper-spray. K.C.S.
. 6
Case 2:18-cr-00882-DLR Document 2 Filed 06/06/18 Page 8 of 9

was forced into the backseat of her vehicle. Her door’s child-lock was activated so
she could not exit the vehicle. Newkirk drove the vehicle. Morales sat in the front
passenger seat. Barrera Estrada set behind Morales in the rear passenger seat and
at times sat on top of K.C.S. to prevent her from moving. The group stopped at a
. gas-station near the Arizona/California border. Their vehicle was stopped by QPD.
19. After receiving consent to search from KCS, I searched her vehicle and
recovered what appeared to be the cell-phones of Barrera Estrada and Newkirk, a.
container of what appeared to be mace/pepper-spray, gloves, binoculars, a knife and
other items associated with the three men.
Conclusion
20. Based upon the foregoing, there is probable cause to believe that on or
between June 4, 2018, and June 5, 2018, Newkirk, Morales, and Barrera Estrada
forcefully kidnapped K.C.S. in California and traveled with her into Arizona in
violation of Title 18, United States Code (U.S.C.), Section 1201(a)(2).
Furthermore, they traveled from Arizona to California where they ‘conducted
extensive surveillance and preparation in order to execute the violent kidnapping of
K.CS. a violation of Title 18 U.S.C., Section 2. Additionally they traveled with a
stolen firearm to facilitate their kidnapping operation, in violation of Title 18 U.S.C.,

924c.
Case 2:18-cr-00882-DLR Document 2 Filed 06/06/18 Page 9 of 9

Pursuant to 28 U.S.C. § 1746(2), I declare under penalty of perjury that
the foregoing is true and correct.

 

 

   

“ L. € :
Date:_GfhW//B Kemper Mills, Special Agent, FBI
Date/Time: Loy Co wv ey

 

HONORABLE DAVID K. DUNCAN
United States Magistrate Judge
